             Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 1 of 6




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7

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9
                              IN THE UNITED STATES DISTRICT COURT
10
                  IN AND FOR THE WESTERN DISTRICT OF WASHINGTON - SEATTLE
11
        CHARLES J. VERKIST and LORI J.
12      VERKIST, individually and the marital             NO.
        community composed thereof,
13
                                                          COMPLAINT FOR DAMAGES
14                      Plaintiffs,

15      vs.
16
        UNITED STATES OF AMERICA, a
17      governmental entity; GEORGE W. RUTTEN
        and JANE DOE RUTTEN, individually and
18      the marital community composed thereoff,
19
                        Defendants.
20

21              COMES NOW Plaintiffs against the above-named Defendants, and state and allege as
22
       follows:
23
       ///
24

25
       ///




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        PAGE - 1                                                       2101 FOURTH AVENUE, SUITE 1030
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           Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 2 of 6




1                                 I.    PARTIES & JURISDICTION

2             1.1   Plaintiffs Charles J. Verkist and Lori J. Verkist are now, and were at all
3
     relevant times hereinafter alleged, residents of Whatcom County in the State of Washington.
4
              1.2   Defendant George W. Rutten is now believed to be, and was at all relevant
5
     times hereinafter alleged, a resident of Whatcom County in the State of Washington. If this
6

7    Defendant is married, his acts and omissions hereinafter described were for and on behalf of

8    his marital community. Defendant George W. Rutten is now believed to have been an
9
     employee of a federal agency, Immigration & Customs Enforcement, on November 28, 2018.
10
              1.3   Plaintiffs served Immigration & Customs Enforcement with the claim within
11
     two years of November 28, 2018 as required by 28 U.S.C. §2401 and 28 U.S.C. §2675.
12

13            1.4   More than six (6) months have elapsed and no response to Plaintiffs’ claims

14   have ever been received.
15
              1.5   Neither has the relevant federal agency confirmed whether Defendant George
16
     W. Rutten was acting within the scope of his employment with Immigration & Customs
17
     Enforcement at the time of the subject collision.
18

19            1.6   All acts and omissions alleged to have occurred herein took place in Whatcom

20   County, in the Western District of Washington. The federal district court in the Western
21
     District of Washington is therefore a proper venue for this action as set forth in 28 U.S.C.
22
     1336(b).
23
     ///
24

25   ///

     ///




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      PAGE - 2                                                           2101 FOURTH AVENUE, SUITE 1030
                                                                           SEATTLE, WASHINGTON 98121
                                                                                 (206) 727-4000
        Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 3 of 6




1                                               II.   FACTS

2            2.1      On or about November 28, 2018 at approximately 10:02 A.M., Plaintiff
3
     Charles J. Verkist and Defendant George W. Rutten were operating automobiles in Whatcom
4
     County, Washington.
5
             2.2      Plaintiff Charles J. Verkist was traveling northbound on Meridian Street in
6

7    Bellingham, WA.

8            2.3      Defendant George W. Rutten’s vehicle was following directly behind
9
     Plaintiff’s vehicle on Meridian Street.
10
             2.4      Plaintiff Charles J. Verkist came to a stop at the intersection of Meridian
11
     Street and Kellogg Street.
12

13           2.5      Suddenly and without warning, Plaintiff Charles J. Verkist’s vehicle was

14   struck from behind by the vehicle being driven by Defendant George W. Rutten.
15
             2.6      Plaintiffs sustained bodily injuries and other damages as a result of the
16
     collision.
17
                             III.    CAUSE OF ACTION--NEGLIGENCE
18

19           3.1      Plaintiffs re-allege the allegations contained in Sections I through II, and

20   incorporate them as though fully set forth herein.
21
             3.2      Defendant George W. Rutten owed Plaintiff a duty of care and a duty to act
22
     reasonably.
23
             3.3      Defendant George W. Rutten breached his duty of care and his duty to act
24

25   reasonably by, among other things, failing to maintain a proper lookout while operating a

     motor vehicle.




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      PAGE - 3                                                              2101 FOURTH AVENUE, SUITE 1030
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                                                                                    (206) 727-4000
           Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 4 of 6




1             3.4    Defendant George W. Rutten breached his duty of care and his duty to act

2    reasonably by, among other things, failing to slow for traffic ahead.
3
              3.5    Defendant George W. Rutten breached his duty of care and his duty to act
4
     reasonably by, among other things, failing to exercise ordinary care and causing a collision
5
     with the plaintiff’s vehicle.
6

7             3.6    As a result of this defendant’s negligent conduct, Plaintiff was injured,

8    suffered, and continues to suffer, physical disability and pain, emotional trauma, medical
9
     expenses, loss of earnings and earning capacity, loss of consortium, property damage and
10
     other damages.
11
                        IV. CAUSE OF ACTION – VICARIOUS LIABILITY
12

13            4.1    Plaintiffs re-allege the allegations set forth in Sections I through III, and

14   incorporates them as though fully set forth herein.
15
              4.2   Defendant United States of America is vicariously liable for the negligent,
16
     grossly negligent and reckless acts and omissions committed by Defendant Rutten
17
     committed within the scope of his employment with a federal government agency pursuant to
18

19   the Federal Employees Liability Reform and Tort Compensation Act of 1988.

20            4.3    As a result of the federal authority described herein, the United States of
21
     America is liable to Plaintiffs for injuries and damages caused by a negligent government
22
     employee acting within the scope of his position, both past and future, including without
23
     limitation, property damage, medical expenses, lost earnings, pain, suffering, disability, loss
24

25   of enjoyment, loss of consortium and other damages.

     ///




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              Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 5 of 6




1                  V.     NO CONTRIBUTORY NEGLIGENCE/COMPARATIVE FAULT

2                 5.1     The damages suffered by Plaintiffs were not caused by any fault, carelessness,
3
           or negligence on their part, but were caused solely and proximately by the tortious acts
4
           and/or omissions of Defendants.
5
                  5.2     There are no other entities which caused or contributed to Plaintiffs’ injuries
6

7          or damages.

8
                  WHEREFORE, Plaintiffs pray for judgment against Defendants, jointly and
9

10         severally, as follows:

11                1.      For all damages sustained by Plaintiffs in an amount proven at trial, up to
12
           $5,006,053.00, including past and future medical expenses and other health care expenses,
13
           pain and suffering, both mental and physical, past and future permanent partial disability and
14
           disfigurement, loss of enjoyment of life, loss of consortium, damages to property, past and
15

16         future special damages, and other damages;

17                2.      Interest calculated at the maximum amount allowable by law, including post-
18
           judgment interest;
19
                  3.      A reasonable attorney's fee as allowed by law;
20
                  4.      Costs and disbursements pursuant to statute; and
21

22                5.      Other and further relief as this Court may deem just and equitable.

23   ///
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     ///
25
     ///




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            PAGE - 5                                                           2101 FOURTH AVENUE, SUITE 1030
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      Case 2:21-cv-00721-JLR-DWC Document 1 Filed 06/01/21 Page 6 of 6




1        Dated this 1st day of June, 2021.

2                                       DAVIS LAW GROUP, P.S.
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4
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